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                                                         !JlSTniCT OF MARYLAND
                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF M_A·ij.·)'lfrij\~ ~ 2          p 12: 38 ,
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IN RE: TITANIUM DIOXIDE .                             Master Docket No. I 0-CV-00318 (ROB)
ANTITRUST LITIGATION


THIS DOCUMENT RELATES TO:
All Actions




                         [PROPOSED] ORDER AUTHORIZING
                    FINAL DISTRIBUTION OF SETTLEMENT FUNDS


For good cause appearing, it is hereby ORDERED AND DECREED as follows:

       1.      The motion of Plaintiffs Haley Paint Company, Isaac Industries, Inc., and East

Coast Colorants, LLC d/b/a Breen Color Concentrates (collectively, "Plaintiffs"), for an Order

Authorizing Final Distribution of Settlement Funds, specifically, the net settlement funds from

the approved Settlements with defendants Huntsman International, LLC ("Huntsman"), E. I. du

Pont de Nemours and Company ("DuPont"),· Crista[ USA, Inc., formerly doing business as

Millennium Inorganic Chemicals, Inc. ("Crista["), and Kronos Worldwide, Inc. ("Kronos")

(collectively, "Defendants") is hereby GRANTED.

       2.      In this action, the Court has granted final approval of the settlements between the

plaintiff class (the "Class") and Defendants, and the time for appeal has expired. See Order of

Final Approval and Judgment (ECF No. 555, December 13, 20 13). In that order, the Court

expressly retained exclusive and .continuing jurisdiction for the purpose of entering orders

regarding distribution ofthe settlement funds. !d.,   ~14.
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       3.      According to the Declaration of Ross Murray in Support of Motion for an Order

Authorizing Final Distribution of Settlement Funds ("Murray Declaration"), the Court-appointed

Claims Administrator has processed all claims submitted by class members and has verified that

the claims were processed according to the terms of the Court-approved Settlement Agreements

and the Plan of Allocation. The Court is further informed that no disputes exist between the

Claims Administrator and any claimants, and that upon issuance of this order, the Claims

Administrator is prepared to distribute the net settlement funds promptly to claimants.

       4.      The Orde·r of Final Approval and Judgment (ECF No. 555, December 13, 2013)

approved the Escrow Account at Union Bank, N.A., that had been established to receive (and has

received) the settlement funds pursuant to the terms of the Settlement Agreements, as a Qualified

Settlement Fund pursuant to Internal Revenue Code Section 468B (26 U.S.C. § 468B) and the

Treasury Regulations promulgated thereunder. Union Bank, N.A. is hereby directed to transfer

the settlement funds (inclusive of all interest earned thereon) to an account set-up by the Claims

Administrator (Gilardi & Co. LLC) for the purpose of distributing the net settlement funds

("distribution account").

       5.      According to the Murray Declaration, after accounting for and setting-aside

estimated tax preparation expenses and previously incurred, and estimated future, administration

costs, including the estimated costs to distribute the settlement funds, the amount to be

distributed to approved claimants by the Claims Administrator from the distribution account after

the issuance of this order is approximately $104,014,824.06 ("Net Settlement Funds").

       6.      The amount set forth in the Murray Declaration for the payment of estimated tax

preparation expenses and previously incurred, and estimated future, administration costs may be




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set-aside and disbursed from the distribution account by the Claims Administrator in payment to

the Claims Administrator or as otherwise directed and approved by Co-lead Class Counsel.

         7.     The Net Settlement Funds shall be distributed to approved claimants from the

distribution account by the Claims Administrator on a pro rata basis pursuant to the Court-

approved Plan of Allocation. The Claims Administrator shall require approved claimants to

endorse their settlement checks within 180 days from the distribution of the Net Settlement

Funds.

         8.     If any funds still remain in the distribution account after this 180-day period (e.g.,

as a result of uncashed checks, accumulated interest, or tax-related or administration costs not

incurred), pursuant to the terms of the Settlement Agreements between Plaintiffs and DuPont

(~24)   and Plaintiffs and Kronos   (~25),   DuPont and Kronos are entitled to receive a portion of

such residual funds, i.e., a "Reversion Amount" under the terms of those agreements. By this

Order, the "Reversion Amount" shall be equivalent to the percentage that each of these

defendant's gross settlement payments represents out of the combined, gross settlement amount

($163.5 million) paid by the four defendants. Specifically, DuPont, which settled for $72 million,

shall receive 44% of the residual funds as a Reversion Amount, and Kronos, which settled for

$35 million, shall receive 21.4% of the residual funds as a Reversion Amount. The Reversion

Amounts shall be paid to DuPont and Kronos within ten (10) days oftheir determination by the

Claims Administrator pursuant to the terms of the Settlement Agreements.

         9.     Co-lead Class Counsel has recommended that any balance of the residual funds

remaining in the distribution account after reversion payments are made to DuPont and Kronos

be distributed by the Claims Administrator to the Maryland Bar Foundation. By this Order, the

Claims Administrator is authorized to make such a distribution.


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       10.     After such residual funds, if any, are distributed to the Maryland Bar Foundation,

or after the distribution account is otherwise depleted, the Claims Administrator is authorized to

discard all claim files and other records relating to the administration and distribution of all

settlement funds in this action after a period of one (1) year has passed from the distribution date.

       IT IS SO ORDERED.


       This 2-l'dday of    Sc.7i'~Ol4.


                                              RICHARD D. BENNETT
                                              UNITED STATES DISTRICT JUDGE




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